
494 S.E.2d 669 (1998)
269 Ga. 26
GIPSON
v.
The STATE.
No. S97A2016.
Supreme Court of Georgia.
January 26, 1998.
John Robert Greco, Atlanta, for Leo Andrew Gipson.
Debra Halpern Bernes, Asst. Dist. Atty., Thomas James Charron, Dist. Atty., Nancy I. Jordan, Asst. Dist. Atty., W. Thomas Weathers, III, Marietta, for the State.
FLETCHER, Presiding Justice.
Leo Andrew Gipson entered a plea of guilty to malice murder and two counts of armed robbery in 1991. In 1997, he filed a motion to withdraw the guilty plea. His motion, however, is untimely because it was filed after the term of court in which it was entered.[1] Since Gipson's remedy for challenging his guilty plea is through the writ of habeas corpus, the trial court did not err in denying his motion. Therefore, we affirm.
Judgment affirmed.
All the Justices concur.
NOTES
[1]  See Caine v. State, 266 Ga. 421, 467 S.E.2d 570 (1996).

